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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       ) Criminal Action No. 1:23-cr-00061-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )
                                     )
____________________________________)


                                       STATUS REPORT

       Defendant Robert Hunter Biden files this Status Report to bring to the Court’s attention the

status of the case filed against him in Delaware and to address issues pending in this matter:

       1.      On April 11, 2024, the Court issued an Oral Order that the parties resubmit a

proposed scheduling order using the Court’s form by April 18, 2024 (DE 96).

       2.      Following that Order, the Court ruled on three of Mr. Biden’s four pending motions

to dismiss and other pending discovery-related motions. (DE 97 – 101).

       3.      Today, we filed a Notice of Appeal of some of the Court’s rulings (those for which

Third Circuit law provides such interlocutory review). In addition, we have conferred with the

Special Counsel’s Office to discuss the pretrial schedule in light of both the Notice—certain

proposed dates for which there would have been inadequate time to meet, even without the Notice

of Appeal being filed—and also that the government’s proposed pretrial schedule included more

items than the Court’s template order provided for. (DE 96).

       4.      Accordingly, in light of the April 18 deadline, Mr. Biden believes the parties would

benefit from, and respectfully requests, a brief status conference with the Court to seek further

clarity regarding a scheduling order in this matter. We reached out to the Special Counsel’s Office

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yesterday to seek their response to this request. They just responded that they would not agree to

a status and then filed their version of the scheduling order without us. Mr. Biden’s counsel is

available at the Court’s convenience.

Dated: April 17, 2024                        Respectfully submitted,


                                             /s/ Abbe David Lowell
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of April, 2024, I filed the foregoing Status Report

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing to

all counsel of record.

                                                    /s/ Abbe David Lowell
                                                    Abbe David Lowell

                                                    Counsel for Robert Hunter Biden




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